  Case: 1:11-cr-00091-SL Doc #: 471 Filed: 08/22/11 1 of 2. PageID #: 2274




                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                  )        CASE NO. 1:11CR91-01
                                           )
                      PLAINTIFF,           )        JUDGE SARA LIOI
                                           )
vs.                                        )
                                           )        ORDER
FRANCISCO FELIX-FELIX,                     )
                                           )
                                           )
                      DEFENDANT.           )

               This matter is before the Court upon Magistrate Judge Kenneth S.

McHargh's Report and Recommendation that the Court ACCEPT Defendant Francisco

Felix-Felix's ("Defendant") plea of guilty and enter a finding of guilty against Defendant.

(Doc. No. 372.)

               On March 8, 2011, the government filed an Indictment against Defendant.

(Doc. No. 1.) On May 9, 2011, this Court issued an order assigning this case to

Magistrate Judge McHargh for the purpose of receiving Defendant's guilty plea. (Doc.

No. 250.)

               On July 15, 2011, a hearing was held in which Defendant entered a plea of

guilty to Count 1 of the Indictment, charging him with conspiracy to distribute five

kilograms or more of cocaine, in violation of 21 U.S.C. Section 846. Magistrate Judge

McHargh received Defendant's guilty plea and issued a Report and Recommendation

("R&R") recommending that this Court accept the plea and enter a finding of guilty.

(Doc. No. 372.)
  Case: 1:11-cr-00091-SL Doc #: 471 Filed: 08/22/11 2 of 2. PageID #: 2275




                Neither party objected to the Magistrate Judge's R&R in the fourteen days

after it was issued.

                Upon de novo review of the record, the Magistrate Judge's R&R is

ADOPTED. Specifically, the Court finds as follows: that the defendant is competent to

enter a plea, that he understands his constitutional rights, that he is aware of the

consequences of entering a plea, and that there is an adequate factual basis for the plea.

The Court further finds that the plea was entered knowingly, intelligently, and

voluntarily. Accordingly, the Defendant's plea of guilty is APPROVED.

                Therefore, the Defendant is adjudged guilty of Count 1 in violation of 21

U.S.C. Section 846. The sentencing will be held on September 29, 2011 at 11:00 a.m.

                IT IS SO ORDERED.



Dated: August 22, 2011
                                              HONORABLE SARA LIOI
                                              UNITED STATES DISTRICT JUDGE
